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     RECEIVED
        May 22, 2023
  CLERK, U.S. DISTRICT COURT         United States Court of Appeals
  WESTERN DISTRICT OF TEXAS

                  pg
BY:_______________________________        For the Fifth Circuit
                        DEPUTY

                                                    ____________
                                                     No. 23-50090
                                                    ____________




              Kimberly D. Hogan Pro se
              Plaintiff / Appellant
                                              Appeal from the USDC for the Western District of Texas
                                              USDC CASE NUMBER: 1:21-CV-00892-RP



              Aspire Financial, Inc. D/B/A Aspire Lending
              and Council Donald E. Uloth
              Defendants / Appellees




                                              OBJECTION!
                  4TH NOTICE WITH INDISPUTABLE PROOF OF FRAUD BY
                    THE COURT MOSTLY VIA CORRUPT STASI CLERKS
                                JUDICIAL COMPLAINT
                        DEMAND FULL PANEL EN BANC HEARING


              1. Plaintiff / Appellant:
              Plaintiff: Kimberly D. Hogan Pro se
              900 Discovery Blvd. #13102
              Cedar Park, Texas 78613


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kdhogan@ymail.com
(303)246-1587


2. Defendants / Appellees:
Defendant: Aspire Financial, Inc. d/b/a Aspire Lending
4100 Alpha Rd. Suite 300
Dallas, Texas 75244
info@aspirelending.com
(877)325-2009




Defendant’s Counsel: Donald E. Uloth

Texas Bar No. 20374200

18208 Preston Rd. Suite D-9 #261

Dallas, Texas 75252

Phone: (855) 952-4645

Fax: (972) 777-6951

Email: don.uloth@uloth.pro



Trial Court Clerk: Dallas County 162nd District Court

Clerk of the Court: Felicia Pitre

600 Commerce Street, Suite 103

Dallas, Texas 75202

(214) 653-7307

felicia.pitre@dallascounty.org




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Trial Court Coordinator: Dallas 162nd District Court

Court Coordinator: Melinda Thomas

600 Commerce Street, Room 730 B

Dallas, Texas 75202

(214) 653-7348

mthomas@dallascourts.org




Appellate Court Clerk: Dallas 5th Court of Appeals

Clerk of the Court: Lisa Matz

600 Commerce Street, Suite 200

Dallas, Texas, 75202

Phone: (214) 712-3450

Fax: (214) 745-1083

TheClerk@5th.txcourts.gov



Supreme Court of Texas Deputy Clerk:

Deputy Clerk of the Court: Kristen Golby

201 W. 14th Street, Room 104

Austin, Texas 78701

(512) 463-1312

kristen.golby@txcourts.gov




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Supreme Court of Texas Clerk:

Clerk of the Court: Blake A. Hawthorne

201 W. 14th Street, Room 104

Austin, Texas 78701

(512) 463-1312




U.S. District Judge Robert Pitman

501 West 5th Street, Suite 5300

Austin, Texas 78701

(512) 391-8792




U.S. Magistrate Judge Mark Lane

501 West 5th Street, Suite 7400

Austin, Texas 78701

(512) 916-5896 ext. 8705




Tyler Technologies

5101 Tennyson Parkway

Plano, Texas 75024

(972) 713-3700


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info@tylertech.com




Newly Added:

United States Fifth Circuit Court of Appeals

Deputy Clerk Lisa E. Ferrara

600 Maestri Place Suite 115

New Orleans, Louisiana 70130

(504) 310-7675




Now Newly Added For More FRAUD Upon And BY THE COURT:

United States Fifth Circuit Court of Appeals

NOWHERE LISTED on the ATTACHED BELOW 5th Circuit’s Contact List:

Mystery “Deputy Clerk” Melissa Shanklin




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Also in NON-VIRUS SEARCHABLE LINK FORMAT HERE:
https://acrobat.adobe.com/link/review?uri=urn:aaid:scds:US:ae076566-4ebe-488b-bff5-7c2d2cde
887e

600 Maestri Place Suite 115

New Orleans, Louisiana 70130

Main Number: (504) 310-7700




AND John Does and Jane Does 1- 100 Identities Yet to be determined.




ATTENTION: Chief Judge Priscilla Richman, Former Chief Judge Edith Jones, Judge
Jennifer Walker Elrod, Judge James F. Graves Jr., and Judge James Ho,

After waiting Months for a Response to my Appeal and Second Appeal, both Filed on
August 12th, 2022 (well in time before my Statute of Limitation from Final Judgment
Ruling entered July 18th, 2022), I decided to File a 3rd Amended Appeal Filed on
February 3rd 2023 in hopes that one would receive a response, as the saying goes “3rd
time’s a charm”. I Filed my first two Appeals well before the Statute of Limitation
Deadline of August 17th 2022. And, in fact, according to the Rules, I Won by Default
since no one ever responded to me by their Statute of Limitation Deadline of September
11th, 2022. With all that being said, now I want to know which is it? Is it vision
problems, ineptness, Corruption, or Collusion? I received this Fraudulent
“UNPUBLISHED ORDER” from the Clerk/Deputy Clerk, specifically Deputy Clerk
Lisa Ferrara, stating that my MANY YEARS Long Fought Battle Case is “DISMISSED
for want of Jurisdiction”. She claims I missed filing a timely notice of appeal by August
17th, 2022. She completely did not look at Docket Entries 22, 23, and 24, or Completely
Ignored all three Docket Entries that Prove I Filed on August 12th, 2022, well before my


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SOL. Deputy Clerk Ferrara fast forwarded to Docket Entry 25, my 3rd Amended Appeal
Dated January 31st, 2023, completely Ignoring Docket Entries 22, 23, and 24, and
especially Ignoring the fact that no one ever responded to #24, which means I won by
Default. Very Interesting SELECTIVE VISION Problems it appears Deputy Clerk
Ferrara suffers from. She was able to see just fine Docket Entry #21 the Final Judgment
dated July 18th, 2022, and was able to see Docket Entry #25 my 3rd Amended Appeal
just fine. Interesting that the SELECTIVE VISION doesn’t notice AT ALL there is NO
RESPONSE to my Timely Filed Appeal dated August 12th, 2022, and that I Actually
Have Won By Default. ALL THE PROOF CAN BE SEEN HERE ON THE
NON-VIRUS PACER LINK FOR THIS CASE:
https://www.pacermonitor.com/case/42145060/Hogan_v_Aspire_Financial,_Inc_et_al




Here Attached Below is all the Proof to see, YET AGAIN, this time in a new and Higher
Court The Fifth Circuit Court of Appeals, The FRAUD UPON AND BY THE COURT
Continues:




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Proof of Fraud By The Fifth Circuit Court of Appeals Deputy Clerk Lisa Ferrara:




Also in NON-VIRUS SEARCHABLE LINK FORMAT HERE:
https://acrobat.adobe.com/link/track?uri=urn:aaid:scds:US:aecf9d0e-c161-4dc6-9ae3-cd2
ea2ebfb5f




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Proof of Fraud Upon and By The Fifth Circuit Court:




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Also in NON-VIRUS SEARCHABLE LINK HERE:
https://acrobat.adobe.com/link/track?uri=urn:aaid:scds:US:9bbe82ba-0290-4ee6-a1de-eb
4a458450cc

PROOF OF SELECTIVE VISION, INEPTNESS, CORRUPTION, OR COLLUSION:




Also in NON-VIRUS SEARCHABLE LINK HERE:

https://acrobat.adobe.com/link/track?uri=urn:aaid:scds:US:bd3d4f16-d4ad-4719-9e3d-83
0329fbb87b




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Proof of Timely Filed August 12th, 2022 2nd Amended Appeal:




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Also in NON-VIRUS SEARCHABLE LINK HERE:
https://acrobat.adobe.com/link/review?uri=urn:aaid:scds:US:b93d124a-8459-4c33-bdde-
4392d30a113c

Which It was NEVER RESPONDED TO, therefore I LEGALLY Won by Default!

NON-VIRUS PACER LINK:
https://www.pacermonitor.com/case/42145060/Hogan_v_Aspire_Financial,_Inc_et_al


I DEMAND THIS CASE BE REOPENED IMMEDIATELY Due To It Being
FRAUDULENTLY Dismissed! The Corruption only continues further with This
Bullcrap Response from Melissa Shanklin SUPPOSED DEPUTY CLERK that the
Courts are not permitted to access digital doc links which is a LIE! See Melissa
Shanklin’s additional FRAUD BY THE COURT HERE:




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Also in NON-VIRUS SEARCHABLE LINK HERE:
https://acrobat.adobe.com/link/track?uri=urn:aaid:scds:US:e9a85c63-c60e-4e5a-8c8a-2c8
f6f4791b4

 All throughout this case and throughout ALL the previous courts, and inserted in
EVERY “ACCEPTED” FILING in ALL the previous courts there have ALWAYS
been Attached Searchable Links! THE COURTS HAVE VIRUS
PROTECTION!

Clearly the FRAUD BY THE COURT is Rampant and Systemic at the 5th Circuit,
with most of it being run on behalf of the highly Corrupt TREASONOUS Stasi
Clerks actions!

Here is the most recent FRAUD BY THE COURT/CLERKS Ruling I received
from Deputy Clerk Casey A. Sullivan, dated May 10th 2023:




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I Firmly suspect and believe Judge Elroy, Judge Graves, and Judge Ho have Not
even had the chance to see Anything to do with my Case, due to TREASONOUS
Stasi Clerks Responding with their FRAUDULENT Rulings well before the Judges
have any knowledge of or chance to review the filings.




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Here is more Proof of Fraud BY YET ANOTHER CORRUPT 5TH CIRCUIT
COURT CLERK Disclosed via a NON-VIRUS LINK:
https://lawsintexas.com/a-fifth-circuit-clerk-corruptly-impersonating-appellants-induces-finality-of-appeal/


AND, There’s This Claim Of The Legal System Being “Corrupt Beyond Recognition” From
Your Own Former Chief Judge Edith Jones Of The 5th Circuit via a NON-VIRUS LINK:
https://republicbroadcasting.org/news/american-legal-system-is-corrupt-beyond-recognition/




Due to ALL of what I have experienced this past near DECADE throughout Every Level of the
Corrupt to the Core Courts I have been through in Texas since the very beginning of my Case,
ALL of the BLATANT FRAUD, COURT EVIDENCE & EXHIBITS STASI

CENSORSHIP COURT STRIPPING, led me to File an Intervention in this One
of the Largest Cases In History:




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Censorship is not just happening on Social Media Platforms, it is taking place in
our Courts to prevent cases like mine from being won! I have Filed as an
Intervenor into this Historical Case ALL of what my experiences have been

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throughout ALL of the Corrupt To The Core Courts so All Eyes Can See just how
Dirty TREASONOUS and WEAPONIZED the United States Courts Truly have
become! MANY MANY People GLOBALLY Are Keeping an eye on and
Closely Following Both of these Cases! Which side of History do you choose to
be on?




RE-OPEN MY CASE IMMEDIATELY!!!!



Respectfully Submitted,

/s/ Kimberly D. Hogan (Accepted as a LEGAL “ELECTRONIC SIGNATURE”!)

Kimberly D. Hogan

900 Discovery Blvd. #13102

Cedar Park, Texas 78613

kdhogan@ymail.com

(303) 246-1587

                                 May 22nd, 2023




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